                                                      Case 2:11-cr-00234-TLN Document 339 Filed 03/31/14 Page 1 of 2


                                            1   Kresta Nora Daly, SBN 199689
                                                Thomas Barth, SBN 154075
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                                            8                                  IN THE UNITED STATES DISTRICT COURT

                                            9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                         Case No. 2:11-CR-00234-TLN

                                           12                     Plaintiff,                      WITHDRAWL OF COUNSEL
                                                                                                  AND ORDER
               S ACRAMENTO , C ALIFORNIA




                                           13            v.
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   DERIAN EIDSON,

                                           15                     Defendants.

                                           16                    Kresta Nora Daly, SBN 199689, and Thomas W. Barth, SBN 154075, hereby

                                           17   withdraw as attorneys for defendant, Derian Eidson.

                                           18   I consent to the above withdrawal.

                                           19   Dated: March 27, 2014                                 /s/ Derian Eidson
                                                                                                      DERIAN EIDSON
                                           20
                                           21   I consent to the above withdrawal.

                                           22   Dated: March 27, 2014.                       BARTH DALY LLP
                                           23
                                                                                             By   /s/ Kresta Nora Daly
                                           24                                                     KRESTA NORA DALY
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                                                        WITHDRAWAL OF COUNSEL AND ORDER      1                            [Case No. 2:11-CR-00234-TLN]
                                                  Case 2:11-cr-00234-TLN Document 339 Filed 03/31/14 Page 2 of 2


                                            1                                          ORDER

                                            2                 IT IS SO ORDERED.

                                            3   Dated: March 28, 2014
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                                            7                                                  Troy L. Nunley
                                                                                               United States District Judge
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               S ACRAMENTO , C ALIFORNIA




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B ARTH D ALY LLP
                   A TTORNEYS A T L AW




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                                                     WITHDRAWAL OF COUNSEL AND ORDER   2                       [Case No. 2:11-CR-00234-TLN]
